444 F.2d 532
    Michael E. STEPHEN, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 71-1369 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    July 16, 1971.
    
      Appeal from the United States District Court for the Eastern District of Texas; Joe J. Fisher, Chief Judge.
      Phillip Bordages, Beaumont, Tex., for petitioner-appellant.
      Roby Hadden, U. S. Atty., James W. Knowles, Asst. U. S. Atty., Tyler, Tex., for respondent-appellee.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    
      1
      Affirmed. See Local Rule 21.1 United States v. Woodall, 5 Cir., 1971, 438 F.2d 1317 (en banc).
    
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 968
      
    
    